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UNITED STATES DISTRICT COURT

DISTRICT OF SOUTH DAKOTA U‘Ma¢-
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SOUTHERN DIVISION

 

l\/IICHAEL l\/l. FIEGEN and *
KATHLEEN I\/l. FIEGEN, CIV. 04-4155
Plaintiffs,

MEl\/IORANDUl\/l OPINION
AND ORDER RE:
MOTION TO DISMISS, OR lN
THE ALTERNATIVE, TO
TRANSFER VENUE

V.

WESLEY W. l\/IORGAN, INDIVIDUALLY,
and WES MORGAN CONSTRUCTION,
lNC.; AMERICAN PROPERTY SERVICES,
INC., RENTAL MANAGEMENT, INC., and
W.W. l\/[ORGAN DEVELOPMENT, INC.,

Defendants.

 

WESLEY W. MORGAN,

Third-Party Plaintiff,

BlLLY C. VAUGHN, RICHARD ABEL,
MARCIA ABEL, and KEYBANK, N.A.,

Third-Party Defendants. *

FACTUAL AND PROCEDURAL BACKGROUND
Plaintiffs, l\/Iichael and Kathleen Fiegen, first filed a complaint on October 4, 2004, naming

Stonegate l\/leadows, LLC, Wesley l\/Iorgan, Billy C. Vaughn, and Keybank National Association as
defendants Doc. l. Plaintiffs filed a notice of dismissal with regard to Stonegate Meadows, LLC.
Doc. 13. After Plaintiffs and Billy C. Vaughn, and Keybanl< National Association filed a stipulation
for dismissal (Doc. 15), this Court entered an Order on April 20, 2005, dismissing Billy C. Vaughn,
and Keybank National Assoeiation as defendants from the above-entitled case

On September 15, 2005, Defendant Wesley l\/lorgan filed a l\/Iotion to Dismiss, or in the

alternative, to Transfer Venue to the United States District Court for the l\/liddle District of

 

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Tennessee pursuant to 29 U.S.C. § l404(a). (Doc. 32).On November 14, 2005, this Court granted
the parties’ stipulation, granted the Plaintiffs’ motion to amend their complaint and granted
Defendant Wesley l\/lorgan’s motion to file an amended answer and third-party complaint Doc. 49.
The Plaintiffs filed an amended complaint in which they added as Defendants, American Property
Services, lnc., Rental l\/lanagement, Inc. and W. W. l\/lorgan Development , lnc. (Doc. 52 ).Defendant
Wesley l\/Iorgan filed a counterclaim against the Fiegens and a third- party complaint against third-
party defendants Billy C. Vaughn, Richard and Marcia Abel and Keybank National Association.
Doc. 51.

Defendants American Property Services, lnc., Rental l\/[anagement, lnc., and W.W. l\/lorgan
Development, lnc., filed ajoinder in the motion to dismiss, or in the alternative, to transfer venue,
and made a special appearance solely to contest personal jurisdiction and venue Doc. 54. No
response has been filed to the joinder motion. Plaintiffs have filed a reply to Wesley l\/lorgan’s
counterclaim Doc. 5(). No response has been filed to Wesley l\/lorgan’s third-party complaint
against third-party defendants Billy C. Vaughn, Richard and Marcia Abel, and Keybank National
Association. There is no proof of service on file showing that these third-party defendants were
Served with the third- party complaint

The dispute in this case arises from Plaintiffs’ investment in Stonegate Meadows apartments,
which are located in Tennessee. The Amended Complaint (Doc. 52) contains four causes ofaction.
Jurisdiction is based solely on diversity of citizenship pursuant to 28 U.S.C. § 1332. In Count l of
the Amended Complaint, Plaintiffs contend that in February of 1999, when PlaintiffMichael Fiegen
received financial information regarding Stonegate l\/leadows, LLC, which was then registered with
the Tennessee Secretary of State, neither Stonegate Meadows, LLC, Defendant Wesley l\/lorgan, nor
anyone on their behalf complied with the requirements of the South Dakota Securities Act and
accompanying regulations Plaintiffs allege that the investment constituted a security which required
filing in the office ofthe South Dakota Securities Commission.

In Count II, Plaintiffs contend that when Plaintiff Michael Fiegen contributed 3250,000 to
Stonegate l\/Ieadows, LLC, in February l999, Defendant Morgan provided information that was
inadequate, misleading, incomplete and inaccurate Specifically, Plaintiffs contend that l\/lorgan

misrepresented that he would build the Stonegate Meadows apartment for cost, that he would not

 

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charge Stonegate Meadows LLC, a contractor’s fee, and that the waiver of the fee would constitute
Defendant Morgan’s contribution to Stonegate Meadows LLC.

ln Count lll, Plaintiffs allege that Defendant Wes Morgan Construction, lnc., breached the
construction contract in building the Stonegate Meadows apartments because ofthe poor quality of
construction In Count IV, Plaintiffs allege that from February, ZOOO, to November, 2002, and then
from March, 2003, to September, 2003, Defendant Morgan, through his management companies
was negligent and mismanaged the Stonegate Meadows apartments

Plaintiffs Michael l\/l. Fiegen and Kathleen Fiegen are Lincoln County, South Dakota
residents Defendant Wesley Morgan was a citizen of Ohio, and is now a citizen of Florida.
Defendants Wes Morgan Construction, lnc., American Property Services, lnc., and W.W. l\/lorgan
Development, lnc., are Ohio Corporations Although Plaintiffs represent that Defendant Rental
l\/lanagement, lnc., is a Tennessee corporation, Defendants contend that this entity is not known by
any of the named defendants but that Rental Management, LLC, of which Defendant Wesley W.
Morgan is a member, is an Ohio limited liability company. Third-party defendant, Billy C. Vaughn,
is a resident ofTennessee. Third-party defendants Richard and Marcia Abel, are now residents of
South Dakota but were formerly residents of Nevada. Third-party defendant, Keybank National
Association, is a national banking association, with its principal place of business in Ohio.

ln Defendant Wesley Morgan’s affidavit in support of the motion to dismiss or in the
alternative, to transfer venue, Morgan contends that he has never been a citizen or resident of South
Dakota, never owned any real or personal property in South Dakota, and had no business interests
in the State. Defendant Wesley Morgan further contends that he never directed any business interest
in South Dakota, and except for one trip to South Dakota, has never traveled to South Dakota.

Defendant Morgan contends that the construction, development and management companies
of which he is President, or of which he is a member, are all Ohio Corporations or Ohio Limited
Liability Companies Morgan contends that none ofthese companies have ever owned any real or
personal property in South Dakota, had offices or business interests in the State, or transacted
business in the State. Plaintiffs do not refute the above facts presented by Wesley Morgan but
l\/lichael Fiegen objects to these facts because of“insufficient knowledge ofthe facts” Doc. 42.

Defendant Morgan contends that he became involved with Billy Vaughn in the business

 

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ventures ofa 208- unit apartment complex in Smyrna , Tennessee, and a 137-unit apartment complex
in l\/lurfreesboro, Tennessee. Morgan attached as Exhibit l, an agreement in which he and Vaughn
agree to two separate limited liability companies and agree that Vaughn would locate other
potential members Stonegate Meadows LLC, of which Plaintiff l\/Iichael Fiegen became a
member, was a Tennessee limited liability company, organized under the laws ofTennessee, having
its principal place of business first in Ohio and later in Tennessee.

Defendant Wesley Morgan, in his affidavit, and with a supporting exhibit ofcorrespondence,
contends that Third - party- defendant Billy Vaughn contacted Third -party - defendant Richard Abel,
who was at that time from Las Vegas, Nevada, to be a member of either the Stonegate Meadows
project in Murfreesboro, Tennessee, or the Fairway Meadows project in Smyrna, Tennessee. Plaintiff
l\/lichael Fiegen objected to these fact because of “insufficient knowledge of the facts”

In Paragraph 12 of Morgan’s affidavit, Morgan states:

l also do not recall having any communication with Mr. Fiegen about becoming a
member of Stonegate Meadows LLC. It is my understanding that Mr. Abel is Mr.
Fiegen’s uncle and that it was Mr. Abel who informed Mr. Fiegen of Stonegate
Meadows and provided him with information about the property l certainly did not.
l do not recall having any verbal or written communication with Mr. Fiegen about
becoming a member of Stonegate Meadows LhC, much less what income he could
expect to receive from becoming a member, To the best ofmy recollection, the first
time l ever spoke with Mr. Fiegen was on February 15, 1999 when he was party to
a conference call wherein l\/Ir. Vaughn and l, as members of Stonegate Meadows
LLC, voted to add him and l\/Ir. Abel as additional members IfI did speak with
Mr. Fiegen before he became a member, it would have been as a result ofa call he
placed to me in Ohio, and lwould have honestly answered any questions he had and
provided my thoughts about the project

Plaintiff Michael Fiegen responded to the above-referenced paragraph 12 as follows: “I
object to paragraph 12 ofl\/Iorgan’s Affidavit in that I had talked to Morgan on at least two (2) prior
occasions before February 15, 1999 When Morgan was aggressively trying to convince me to invest
in the property.” Plaintiff l\/Iichael Fiegen contends that there never was a February l5, 1999,
conference call, but does not dispute that Abel is his uncle and is the person who informed him of
the Stonegate Meadows investment Plaintiff Michael Fiegen also does not dispute Defendant

Wesley Morgan’s allegation that Michael Fiegen called Wesley Morgan in Ohio.

 

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Wesley Morgan contends in his affidavit that the members of Stonegate Meadows LLC,
unanimously approved entering into a construction loan and construction contracts with Defendant
Wes Morgan Construction, lnc., for the apartments in Tennessee. Stonegate Meadows LLC,
initially hired an independent professional leasing company to lease the apartments that were built
in phase 1 ofthe construction, but this companyterminated its arrangement and Defendant American
Property Services, lnc., took over the management ofthe apartments

The Plaintiffs contend they invested in the Tennessee apartment investment after two
telephone calls with Wesley Morgan. The Plaintiffs also maintain minutes and loan documents were
sent via overnight delivery to them from Defendant Wesley Morgan. lt is undisputed that Defendant
Wesley Morgan attended a meeting in South Dakota in November of2002. The meeting was called
by Plaintiffl\/Iichael Fiegen after the parties had been in disagreement over numerous management
issues

ln the Joinder in the Motion to dismiss or in the alternative, to transfer venue, the
Defendants Wes Morgan Construction, lnc., American Property Services, lnc., Rental Management,
Inc., and W.W.Morgan Development, lnc., state that none of these defendants are authorized to
conduct business in South Dakota, none have offices in South Dakota, none have ever transacted
business in South Dakota, and none have any business interests in South Dakota.. Doc. 54. There

is no response to this document which was filed on December l2, 2005.

ANALYSIS OF MOTION TO DISl\/IISS, OR IN THE ALTERNATIVE,
TO TRANSFER VENUE

28 U.S.C. § l404(a) provides “For the convenience of parties and witnesses in the
interest of justice, a district court may transfer any civil action to any other district or division where
it may have been brought.” In addition to 28 U.S.C. § l404(a), Defendants rely upon 28 U.S.C. §
1391(a)(2) which provides that a diversity case may be brought only in “a judicial district in which
a substantial part of the events or omissions giving rise to the claim occurred, or a substantial part
ofproperty that is the subject ofthe action is situated.” 28 U.S.C. § 1406(a) provides that a “district
court ofa district in which is filed a case laying venue in the wrong division or district shall dismiss

or if it be in the interest of justice, transfer such case to any district or division in which it could be

 

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brought.”

A district court has the authority pursuant to 28 U.S.C. § l406(a) to transfer a case to any
district in which it could have been brought, regardless of whether or not the court has personal
jurisdiction over the defendants See Golcllawr, lnc., v. Heimcm, 369 U.S. 463 (1962); T/lompsO/i v.
Ecologl`cal Scz'erice Corp., 421 F.2d 467, 47()n.4 (8th Cir. 197()). ln light ofthis principle oflaw, the
Court will first consider the motion to transfer venue to the United States District Court for the
Middle District of Tennessee.

ln Woodke v. Dahm, 70 F.3d 983 (8th Cir. 1995), the Eighth Circuit Court of Appeals upheld
the district court’s dismissal ofan action for improper venue pursuant to 28 U.S.C. § 1391 (a)(2). The

Eighth Circuit discussed the purpose of 28 U.S.C. § 1391(a)(2) as follows:

One ofthe central purposes of statutory venue is to ensure that a defendant
is not “haled into a remote district having no real relationship to the dispute."
[cite omitted] While the present venue statute was certainly intended to
expand the number of venues available to a plaintiff, we are reluctant to
impute to Congress an intent to abandon altogether the protection of
defendants as a relevant consideration in venue matters We think it far more
likely that by referring to “event or omissions giving rise to the claim,”
Congress meant to require courts to focus on relevant activities of the
defendant, not of the plaintiff.
70 F.3d at 985.

The apartments which were the subject of the Plaintiffs’ investment are located in
Tennessee. The construction of the apartments which is the subject of the Plaintiffs’ breach of
contract cause of action, occurred in Tennessee. The management of the apartments which is the
subject of Plaintiffs’ negligence cause of action, occurred in Tennessee. Tennessee is the “j udicial
district in which a substantial part ofthe events or omissions giving rise to the claim occurred, or a
substantial part of property that is the subject ofthe action is situated

The Forbearance and l\/lodification Agreement, which is the subject of the Breach of
Contract claim in Count Vl and lnducement to Breach of Contract claim in Count Vll of the
Counterclaim and Third-Party Complaint, is a Tennessee contract, and by its terms is to be

performed in, and construed under the laws of Tennessee. The l\/lutual Release and Settlement

Agreement, which is the subject ofthe Fraud and Conspiracy to Defraud claim in Count lX ofthe

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Counterclaim and Third-Party Complaint, provides that the Agreement is a Tennessee contract,
which is to be performed in, and construed under the laws of Tennessee. The district courts in
Tennessee would be best equipped to apply the laws of the State of Tennessee.

After considering the relevant facts in this case, the “interest ofjustice” standards of 28
U.S.C. § l404(a) and 28 U.S.C. § l4()6(a), and the requirements of 28 U.S.C. § l391(a)(2), this
Court has determined that this case should be transferred to the United States District Court for the
l\/liddle District of Tennessee. Having made this determination, this Court need not determine the
issue of personal jurisdiction. Accordingly,

IT IS ORDERED :

(l) That the l\/lotion to Dismiss, or in the alternative, to Transfer Venue, (Doc. 32), is
granted to the extent that this case is transferred to the United States District Court
for the l\/liddle District of Tennessee; and

(2) That the Clerk is hereby directed to send the record and a certified copy of this
Memorandum Opinion and Order to the Clerk of Court for the United States District
Court for the Middle District of Tennessee.
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Dated this _2»_ day of March, 2006.

BY THE COURT:

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United States District ludge

 

 

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